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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

                                                     )
 INTERCEPT PHARMACEUTICALS, INC.,                    )
 et al.,                                             )
                                                     )
                 Plaintiffs,                         )    C.A. No. 20-1105-MN-JLH
                                                     )     (CONSOLIDATED)
        v.                                           )
                                                     )
 APOTEX INC., et al.,                                )
                                                     )
                 Defendants.

                                    [PROPOSED] ORDER

       This ____ day of ______________, 2022, the Court having considered Defendants Apotex

Inc. and Apotex Corp. (collectively, “Apotex”); Amneal EU, Limited and Amneal Pharmaceuticals

New York, LLC (collectively, “Amneal”); Lupin Limited and Lupin Pharmaceuticals, Inc.

(collectively, “Lupin”); MSN Laboratories Private Limited and MSN Pharmaceuticals Inc.

(collectively, “MSN”); and Optimus Pharma Pvt. Ltd. and Optimus Drugs Private Ltd.

(collectively, “Optimus”) (all collectively, “Defendants”)’s Motion for Leave to Amend their

Answers and Counterclaims (the “Motion”);

       IT IS HEREBY ORDERED that Defendants’ Motion is GRANTED. Apotex, Amneal,

Lupin, MSN, and Optimus each shall file their respective First Amended Answer and

Counterclaims, in substantially the form attached as Exhibits A1-A5 to Defendants’ letter in

support of the Motion, with Exhibits 1-55 enclosed thereto also appended, within three (3) days of

the date of this Order.


                                                    ____________________________________
                                                    Hon. Jennifer L. Hall
                                                    United States Magistrate Judge
